        Case 1:12-cv-21915-WCT Document 1-1 Entered on FLSD Docket 05/21/2012 Page 1 of 1
 ~~JS     44 {Rcv, 2108)
                                                                                           CIVIL COVER SHEET
 The JS 44 civil covcrsheet and the infonnation contained herein neither replace nor supplement tbe filing and service of pIcadings or ~nherpapefs il~ required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference ofthc United States in September 1974, is reqUlred fot the usc of the Clerk of Court for the purpo~e of loitialing
 tbe civil docket sheet. (SEE INSTRUCTIONS ON THE REVBRsr OF THE FORM.)                 NOTICE: Attorneys ~UST Indicate All Re-filed Cases Below.
 J. (al PLAINTIFFS                                                                                                                DEFENDANTS
 UNITED STATES OF AMERlCA
                                                                                                                                                           MARIA MEDINA a/kIa
      (b)     County of Residencc of First Listed Plaintiff                                                                       County ofR"idMkmoll.rEt.(i;~l!t(¥llE
                                      (EXCEPT IN U.S. PI.ArNTIFF CASRS)                                                                                                  ([NU.S.rLAINTlFFC":}PSONJ.Yb        d
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 (c)       Attorney'll (Firm "N ~me, Addrtfs$, ad leltphonc N umbn)                                                                         N()TI:l.; IN LAND CONDEMNATION CAses, USE THE LOCATJON OF THE TkACT
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NEWMAN & MARQUEZ, PA 305-665-9633
1533 Sunset Drive, Suite 225                                                                                                        Attorneys (ICKnowlI)
Coral Gables. FL 33143

 (dl Check      County Where Action Arnse:                  MIAMI· VADE            a       MONROE          (] BROWAIW         Cl PALM BEACH                (] MAJlTfN       0   ST.I.UCIE      a   INDIAN IUVER        0   OKEECHOBEE
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 II. BASIS OF JURISDICTION                                     {Ploc~   an "X" 111 Ollt     HQX    Only}              Ill. CITIZENSHIP OF PRINCIPA L                                    PARTIES(Placc an "X~ In Ont flox forPbintiff
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                                                                                   .) Rc-filcd Case DYES D NO                                            b) Related Cases DYES DNO
  VI. RELA TED IRE-FILED                                 (See ilutructions
  CASE(S).                                               5~co"d pace):             runGE                                                                                  DOCKET NUMBER

                                                   Cite the U,S, Civil Starute under which you are filing and Write a BriefStatement of Cause (Do not cite jurisdictional statutes unless
                                                      diversity):
  Vll. CAUSE OF ACTION                                Recovery of Funds Expended by Plaintiff as guarantor or a defaulted federally insured student Ioan.CFR682.100 .
                                                      (4)(d)
                                                      LENGTH OF TRIAL via -L- days estimated (for both sides to try entire case.)
                                                                                                                            ,DEMANDS                               ~IIECK                      YES onl)' if demanded in complaint:
  VIII. REQUESTED IN                                  0 CHECK IF TIllS IS A CLASS ACTIONI
        COMPLAINT:                                        UNDER F.R.C.P. 23                                                                                       V              JI:       Y DEMAND:             D Yes        r;f No

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  ABOVE 1~'FORl\IA nON IS TRUE & CORRECT TO SlGNATURE OF ATTORNEY                                                                 OF RECORD
  THE BEST OF MY KNOWLEDGE Jennifer Margolis Marquez                                                                        (FBN 0770701)
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